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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
KIMBERLY DRAGOO Case Number: 23CR208-01
; USM Number: 64734-510
) Bruce Castor
) Defendant's Attomey

THE DEFENDANT: = ILE D

M pleaded guilty to count(s) 4 of the information filed on 6/23/2023
APR 13 2024
CJ pleaded nolo contendere to count(s)

which was accepted by the court. Clerk, U.S, District and
C was found guilty on count(s) - Bankruptcy Courts

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
40 U.S.C. § Parading, Demonstrating, or Picketing in a Capitol Building 1/6/2021 4
5104(e)(2)(G), (Class B Misdemeanor)

40 U.S.C. § 5109 (b)

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984,
OJ The defendant has been found not guilty on count(s)

MCount(s) —_ all open remaining counts 1 is Ware dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

4/19/2024

Date of Imposition of Judgment

Signature of Judge

BERYL A. HOWELL U.S, DISTRICT JUDGE

Name and Title of Judge

_ lbrrnf J 7 A 24

Date
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AO 245B (Rev, 09/19) Judgment in a Criminal Case

Sheet 4—Probation
~ Judgment—Page 2 of i
DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01 -
PROBATION
You are hereby sentenced to probation for a term of:
Thirty-Six (36) Months as to Count 4
MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
@ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)
4. © You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. © You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. © You must participate in an approved program for domestic violence. (check if applicable)
7. WM Youmust make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,

fines, or special assessments.

You must comply with the standard conditions that have becn adopted by this court as well as with any other conditions on the attached
page.
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Sheet 4A — Probation

Judgment—Page 3 of i

DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible duc to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

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Sheet 4B — Probation

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Judgment—Page 4 of |

DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01

ADDITIONAL PROBATION TERMS

Special Assessment - The defendant is ordered to pay a special assessment of $10.00 in accordance with 18 U.S.C. §
3013.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 4D — Probation

Judgment—Page 5 of 7

DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01

SPECIAL CONDITIONS OF SUPERVISION

Intermittent Confinement - the defendant must serve a total of 14 days of intermittent confinement. The intermittent
confinement shall be served in two periods of 7 days each within her first year of probation, at a facility designated by the
Bureau of Prisons. She must follow the rules and regulations of the facility in which she is designated.

Firearm Restriction - the defendant shall remove firearms, destructive devices, or other dangerous weapons
from areas over which she has access or control until the term of supervision expires.

Financial Information Disclosure - The defendant must provide the probation officer access to any requested financial
information and authorize the release of any financial information. The Probation Office may share financial information
with the United’States Attorney's Office.

Financial Restrictions - The defendant must not incur new credit charges, or open additional lines of credit without the
approval of the probation officer.

Financial Payment Schedule - Having assessed the defendant's ability to pay, payment of the total criminal monetary
penalties is due as follows: Payment in equal monthly installments of $150.00, to commence after the date of this judgment.

Restitution Obligation - Restitution payments shall be made to the Clerk of the Court for the United States District Court,
District of Columbia, for disbursement to the following victim: Architect of the Capitol, Office of the Chief Financial Officer,
Ford House Office Building, Room H2-205B, Washington, DC 20515. Amount of Loss: $500.00.

The defendant is ordered to pay a fine in the amount of $5,000.00

The financial obligations are payable to the Clerk of the Court for the U.S. District Court, 333

Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, the defendant shall
notify the Clerk of the Court of the change until such time as the financial obligation is paid in

full.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6 of f

DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monctary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 10.00 $ 500.00 $ 5,000.00 $ $
O The determination of restitution is deferred until __. An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
WM The defendant must make restitution (including community restitution) to the following payces in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18'U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Restitution payments shall be made to the $500.00

Clerk of the Court for the United States
District Court, District of Columbia, for

disbursement to the following victim:

Architect of the Capitol

Office of the Chief Financial Officer
Ford House Office Building

Room H2-205B

Washington DC 20515

TOTALS $ 0.00 $ _ __  500.00°

OC sRestitution amount ordered pursuant to plea agreement $

0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

8

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the fine restitution.

CO the interest requirement forthe © fine ( restitution is modified as follows:

* Amy, Vicky, and Andy, Child Porno raphy Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. . .

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment —Page 7 of 7.

DEFENDANT: KIMBERLY DRAGOO
CASE NUMBER: 23CR208-01

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A {) Lumpsum payment of $ ee due immediately, balance due

OO notlaterthan So or
O inaccordancewith O C. OF D, QO E,or JC F below; or

B (Payment to begin immediately (may be combined with (OIC, OD,or ()F below); or

C O Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of
—___s (e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D O Paymentinequal (e.g., weekly, monthly, quarterly) installments of $ == ss over a period of
_ fe.g., months or years), to commence ___ (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within = =—-ss————s fe. g., 30. or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

The defendant is ordered to pay a $10.00 special assessment, $500.00 in restitution and a $5000.00 fine. These
amounts are due and payable to the Clerk of the U.S. District Court for the District of Columbia. Restitution shall
be disbursed to the victim: Architect of the Capitol, Office of the Financial Officer, Ford House Office Building,
Room H2-205B. Washington DC 20515, Payment of balance of any restitution owed within 30 days of this
judgment or at a rate of no less than $150.00 per month.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monctary penalties, except those payments made through the Federa] Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0 Joint and Several

Case Number . .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

00s The defendant shall pay the cost of prosecution.

Oo

The defendant shall pay the following court cost(s):

©) The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, 2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) ‘A assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
